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                               UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF VIRGINIA


SONY MUSIC ENTERTAINMENT, et al.,

         Plaintiffs,

v.
                                                       Case No. 1:18-cv-00950-LO-JFA
COX COMMUNICATIONS, INC., et al.,

         Defendants.



                                        [PROPOSED] ORDER

            UPON CONSIDERATION of Plaintiffs’ Motion to Remove ECF Nos. 697-4 (Exhibit D

     to Plaintiffs’ Memorandum in Opposition to Cox’s Motion for Remittitur or New Trial) and 699-

     3 (Exhibit C to Plaintiffs’ Memorandum in Opposition to Cox’s Renewed Motion for Judgment as

     a Matter of Law or New Trial) from the public docket, and for good cause shown, it is hereby

            ORDERED that the motion is GRANTED and the Clerk of Court is ordered to remove the

     documents filed at ECF Nos. 697-4 and 699-3 from the public docket.


     ENTERED this ___ day of _______________________ 2020


     Alexandria, Virginia
                                                        _________________________________

                                                        Judge for the Eastern District of Virginia
